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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

Alexandria Division
UMG RECORDINGS, INC., et al., )
Plaintiffs,
v. Civil Action No. 1:18-cv-957
)
)
TOFIG KURBANOV, et. al., )
Defendants.
ORDER

This matter comes before the Court on the Report and
Recommendation of the Magistrate Judge dated December 16, 2021
in response to Plaintiffs’ Request for Damages, a Permanent
Injunction, and Attorneys’ Fees and Costs.

On October 1, 2021, this Court granted a Default Judgment
in favor of the Plaintiffs. On December 16, 2021, the Magistrate
Judge issued a Report and Recommendation recommending that the
Court award Plaintiffs statutory damages in the amount of
$82,922,500; ruling that Plaintiffs are entitled to reasonable
attorneys’ fees and costs; and granting injunctive relief.

Based on a de novo review of the evidence in this case, the
Report and Recommendation, and Defendant Kurbanov’s objections,
it appears to the Court that the Magistrate Judge’s Report and
Recommendation is neither clearly erroneous nor contrary to law;

and it is hereby
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ORDERED that the Plaintiffs are awarded statutory damages
for violations of the Copyright Act of 1976 and the Digital
Millennium Copyright Act in the amount of $82,922,500; ORDERED
that Plaintiffs are entitled to reasonable attorneys’ fees and
costs; and

Defendant Kurbanov is enjoined from directly or indirectly
infringing in any manner pertaining to Plaintiffs’ Copyrighted
Works; Defendant Kurbanov is enjoined from directly or
indirectly circumventing any and all technological measures that
effectively control access to or protect a right of any
Plaintiff in any and all of Plaintiffs’ Copyrighted Works;
Defendant Kurbanov must permanently delete and destroy all
electronic copies of any of Plaintiffs’ Copyrighted Works or
derivate works thereof, that Defendant Kurbanov has in his
possession, custody, or control, and all devices by means of
which such copies have been created within 30 days of the
Court’s Order. Defendant Kurbanov shall certify to this Court in
a declaration that he has complied with this paragraph; and
Defendant Kurbanov shall give notice of the declaration to each
of his officers, agents, servants, employees, and attorneys and
all those in active concert or participation with him,
including, but not limited to, Able Sun Holdings Ltd., Hotger

Ltd., Natalia Kyriakidou, Pavel Vasin, Daria Jones, and
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Alexandra Dimakos within ten business days following entry of

this Order.

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CLAUDE M. HILTON
UNITED STATES DISTRICT JUDGE
Alexandria, Virginia
February /@ , 2022
